       Case 2:15-cr-00159-JCM-NJK Document 109
                                           107 Filed 10/16/20
                                                     07/09/20 Page 1 of 8
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 1   Rene L. Valladares
     Federal Public Defender
 2   Nevada State Bar No. 11479
     Andrew Wong
 3   Assistant Federal Public Defender
     Nevada State Bar No. 13877
 4   411 E. Bonneville Avenue, Suite 250
 5   Las Vegas, Nevada 89101
     (702) 388-6577
 6   Andrew_Wong@fd.org

 7
 8                        UNITED STATES DISTRICT COURT
 9                               DISTRICT OF NEVADA
10
11   United States of America,                   Case No. 2:15-cr-00159-JCM-NJK

12                Plaintiff,                     Motion for Rule 17(c) subpoena
13         v.
14   Jamie Sandoval,
15                Defendant.
16
17         Jamie Sandoval moves under Federal Rules of Criminal Procedure 17(c)
18   for the issuance of a subpoena for his medical records from the Nevada
19   Department of Corrections. Undersigned requests that the subpoena be “issued”
20   to the Federal Defender’s Office for service by an FPD investigator rather than
21   being forwarded to the USMS for service.
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     Case 2:15-cr-00159-JCM-NJK Document 109
                                         107 Filed 10/16/20
                                                   07/09/20 Page 2 of 8
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 1   1.    I am an Assistant Federal Public Defender for the District of Nevada
 2         and the attorney for Jamie Sandoval.
 3   2.    It is my professional judgment that my client’s medical records are
 4         necessary to determine whether he is eligible for compassionate release
 5         or any other relief in light of COVID-19.
 6   3.    These documents are not otherwise procurable by exercise of due
 7         diligence as the Nevada Department of Corrections requires a court
 8         order.
 9   4.    Witness:
10         Nevada Department of Corrections
           Attn: Custodian of Records
11
           Stewart Facility Bldg. 17, 5500 Snyder Ave.
12         Carson City, NV 89701

13   5.    The proposed subpoena prepared on this Court’s standard form is
14         attached as Exhibit A.

15
           Dated: July 9, 2020
16
17                                      Respectfully submitted,
                                        Rene L. Valladares
18                                      Federal Public Defender
19                                      /s/ Andrew Wong
20                                      Andrew Wong
                                        Assistant Federal Public Defender
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       Case 2:15-cr-00159-JCM-NJK Document 109
                                           107 Filed 10/16/20
                                                     07/09/20 Page 3 of 8
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 1                       UNITED STATES DISTRICT COURT

 2                               DISTRICT OF NEVADA
 3
     United States of America,                    Case No. 2:15-cr-00159-JCM-NJK
 4
                 Plaintiff,                       Order for Production of
 5
                                                  Documents
 6         v.

 7   Jamie Sandoval,

 8               Defendant.
 9
10         Upon motion of Jamie Sandoval pursuant to Rule 17(c) of the Federal

11   Rules of Criminal Procedure, and good cause appearing therefore,

12         IT IS HEREBY ORDERED that the Nevada Department of Corrections

13   must produce all medical records pertaining to Jamie Sandoval as set forth in the

14   subpoena.

15         DATED: July____, 2020.
                  October 16, 2020.

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17
                                           James C. Mahan
18                                         United States District Court

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       Case 2:15-cr-00159-JCM-NJK Document 109
                                           107 Filed 10/16/20
                                                     07/09/20 Page 4 of 8
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 1                      CERTIFICATE OF ELECTRONIC SERVICE

 2            The undersigned hereby certifies that he is an employee of the Federal
 3   Public Defender for the District of Nevada and is a person of such age and
 4   discretion as to be competent to serve papers.
 5            That on July 9, 2020, he served an electronic copy of the above and foregoing
 6   Motion for Rule 17(c) subpoena by electronic service (ECF) to the person named
 7
     below:
 8
 9
                           NICHOLAS A. TRUTANICH
10                         United States Attorney
                           ADAM M. FLAKE
11                         Assistant United States Attorney
                           501 Las Vegas Blvd. South
12                         Suite 1100
                           Las Vegas, NV 89101
13
14                                               /s/ Brandon Thomas
                                                 Employee of the Federal Public
15                                               Defender

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 Case2:15-cr-00159-JCM-NJK
      2:15-cr-00159-JCM-NJK Document
                             Document107-1
                                      109 Filed
                                           Filed10/16/20
                                                 07/09/20 Page
                                                           Page51ofof84




                    EXHIBIT A




                    EXHIBIT A
                Case
                 Case2:15-cr-00159-JCM-NJK
                      2:15-cr-00159-JCM-NJK Document
                                             Document107-1
                                                      109 Filed
                                                           Filed10/16/20
                                                                 07/09/20 Page
                                                                           Page62ofof84
AO 89B () Subpoena to Produce Documents, Information, or Objects in a Criminal Case


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                                District of1HYDGD
                  United States of America                                 )
                             v.                                            )
                       Jamie Sandoval                                      )        Case No. 2:15-cr-00159-JCM-NJK
                                                                           )
                             Defendant                                     )
                              SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR
                                         OBJECTS IN A CRIMINAL CASE
To:     Nevada Department of Corrections, Attn: Custodian of Records
        Stewart Facility Bldg. 17, 5500 Snyder Ave., Carson City, NV 89701
                                                      (Name of person to whom this subpoena is directed)

      YOU ARE COMMANDED to produce at the time, date, and place set forth below the following books, papers,
documents, data, or other objects:
See attached Order for details.


Place: L.D. George United States Courthouse                                         Date and Time:
         333 Las Vegas Boulevard
         Las Vegas, NV 89101

         Certain provisions of Fed. R. Crim. P. 17 are attached, including Rule 17(c)(2), relating to your ability to file a
motion to quash or modify the subpoena; Rule 17(d) and (e), which govern service of subpoenas; and Rule 17(g),
relating to your duty to respond to this subpoena and the potential consequences of not doing so.
           (SEAL)

Date:
                                                                                    CLERK OF COURT


                                                                                                Signature of Clerk or Deputy Clerk


The name, address, e-mail, and telephone number of the attorney representing (name of party)       Jamie Sandoval
                                                                                      , who requests this subpoena, are:
 Andy Wong, Law Offices of the Federal Public Defender/ Andrew_Wong@fd.org
 411 E. Bonneville Ave., Ste. 250, Las Vegas, NV 89101/ (702) 388-6577

                                  Notice to those who use this form to request a subpoena
Before requesting and serving a subpoena pursuant to Fed. R. Crim. P. 17(c), the party seeking the subpoena is advised to
consult the rules of practice of the court in which the criminal proceeding is pending to determine whether any local rules
or orders establish requirements in connection with the issuance of such a subpoena. If no local rules or orders govern
practice under Rule 17(c), counsel should ask the assigned judge whether the court regulates practice under Rule 17(c) to
1) require prior judicial approval for the issuance of the subpoena, either on notice or ex parte 2) specify where the
documents must be returned (e.g., to the court clerk, the chambers of the assigned judge, or counsel’s office); and 3)
require that counsel who receives produced documents provide them to opposing counsel absent a disclosure obligation
under Fed. R. Crim. P. 16.

Please note that Rule 17(c) (attached) provides that a subpoena for the production of certain information about a victim
may not be issued unless first approved by separate court order.
                Case
                 Case2:15-cr-00159-JCM-NJK
                      2:15-cr-00159-JCM-NJK Document
                                             Document107-1
                                                      109 Filed
                                                           Filed10/16/20
                                                                 07/09/20 Page
                                                                           Page73ofof84
AO 89B () Subpoena to Produce Documents, Information, or Objects in a Criminal Case (Page 2)

Case No. 2:15-cr-00159-JCM-NJK

                                                             PROOF OF SERVICE

          This subpoena for (name of individual and title, if any)         NDOC
was received by me on (date)                                  .

          u I served the subpoena by delivering a copy to the named person as follows:


                                                                                 on (date)                                    ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                            .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                    .

My fees are $                                   for travel and $                             for services, for a total of $          0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                    Server’s signature



                                                                                               Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
                Case
                 Case2:15-cr-00159-JCM-NJK
                      2:15-cr-00159-JCM-NJK Document
                                             Document107-1
                                                      109 Filed
                                                           Filed10/16/20
                                                                 07/09/20 Page
                                                                           Page84ofof84
AO 89B () Subpoena to Produce Documents, Information, or Objects in a Criminal Case (Page 3)



                        Federal Rule of Criminal Procedure 17 (c), (d), (e), and (g) (Effective 12/1/08)
(c) Producing Documents and Objects.

     (1) In General. A subpoena may order the witness to produce any books, papers, documents, data, or other objects the subpoena
     designates. The court may direct the witness to produce the designated items in court before trial or before they are to be offered in
     evidence. When the items arrive, the court may permit the parties and their attorneys to inspect all or part of them.

     (2) Quashing or Modifying the Subpoena. On motion made promptly, the court may quash or modify the subpoena if compliance
     would be unreasonable or oppressive.

     (3) Subpoena for Personal or Confidential Information About a Victim. After a complaint, indictment, or information is filed, a
     subpoena requiring the production of personal or confidential information about a victim may be served on a third party only by court
     order. Before entering the order and unless there are exceptional circumstances, the court must require giving notice to the victim so that
     the victim can move to quash or modify the subpoena or otherwise object.

(d) Service. A marshal, a deputy marshal, or any nonparty who is at least 18 years old may serve a subpoena. The server must deliver a copy
of the subpoena to the witness and must tender to the witness one day’s witness-attendance fee and the legal mileage allowance. The server
need not tender the attendance fee or mileage allowance when the United States, a federal officer, or a federal agency has requested the
subpoena.

(e) Place of Service.

     (1) In the United States. A subpoena requiring a witness to attend a hearing or trial may be served at any place within the United
     States.

     (2) In a Foreign Country. If the witness is in a foreign country, 28 U.S.C. § 1783 governs the subpoena's service.

(g) Contempt. The court (other than a magistrate judge) may hold in contempt a witness who, without adequate excuse, disobeys a subpoena
issued by a federal court in that district. A magistrate judge may hold in contempt a witness who, without adequate excuse, disobeys a
subpoena issued by that magistrate judge as provided in 28 U.S.C. § 636(e).
